         Case 4:07-cv-05944-JST Document 3476-3 Filed 01/23/15 Page 1 of 3


 1   GIBSON, DUNN & CRUTCHER LLP
     JOEL S. SANDERS, SBN 107234
 2   JSanders@gibsondunn.com
     RACHEL S. BRASS, SBN 219301
 3   RBrass@gibsondunn.com
     AUSTIN V. SCHWING, SBN 211696
 4   ASchwing@gibsondunn.com
     555 Mission Street, Suite 3000
 5   San Francisco, California 94105-2933
     Telephone: 415.393.8200
 6   Facsimile: 415.393.8306
 7   Attorneys for Defendants
     CHUNGHWA PICTURE TUBES, LTD. and
 8   CHUNGHWA PICTURE TUBES (MALAYSIA)
     SDN. BHD.
 9

10                                 UNITED STATES DISTRICT COURT

11                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                     SAN FRANCISCO DIVISION

13
     IN RE: CATHODE RAY TUBE (CRT)                       Master File No. 3:07-CV-5944 SC
14   ANTITRUST LITIGATION                                MDL No. 1917
     _______________________________________
15                                                       DECLARATION OF WANG CHIH
     This Document Relates To:                           CHENG IN SUPPORT OF DEFENDANTS
16                                                       CHUNGHWA PICTURE TUBES, LTD.
     ViewSonic Corporation v. Chunghwa Picture           AND CHUNGHWA PICTURE TUBES
17   Tubes, Ltd., et al., No. 3:14-cv-02510-SC           (MALAYSIA) SDN. BHD.’S REPLY IN
                                                         SUPPORT OF MOTION FOR PARTIAL
18                                                       SUMMARY JUDGMENT FOR LACK OF
                                                         STANDING AS TO VIEWSONIC
19                                                       CORPORATION
20                                                       Date:           February 6, 2015
                                                         Time:           10:00 a.m.
21                                                       Judge:          Hon. Samuel Conti
22

23

24

25

26

27

28


        DECLARATION OF WANG CHIH CHENG IN SUPPORT OF REPLY IN SUPPORT OF CHUNGHWA’S MOTION FOR PARTIAL
            SUMMARY JUDGMENT FOR LACK OF STANDING AS TO VIEWSONIC – MASTER CASE NO. 07-CV-5944 SC
           Case 4:07-cv-05944-JST Document 3476-3 Filed 01/23/15 Page 2 of 3


 1            I, Wang Chih Cheng, hereby declare as follows:
 2            1.      I am the Chief Financial Officer at Chunghwa Picture Tubes, Ltd. (“CPT”). I am a
 3   resident of Taiwan. I am an adult over eighteen (18) years of age.
 4            2.      I submit this declaration in support of Defendants Chunghwa Picture Tubes, Ltd. and
 5   Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.’s Reply in Support of Motion for Partial Summary
 6   Judgment for Lack of Standing as to ViewSonic Corporation. Unless otherwise indicated, I have
 7   personal knowledge of the foregoing and could and would testify to the same if called as a witness in
 8   this matter.
 9            3.      I have reviewed Exhibits 16-18 to the Declaration of Astor H. L. Heaven in Support of
10   ViewSonic Corporation’s Opposition to Defendants Chunghwa Picture Tubes, Ltd. and Chunghwa
11   Picture Tubes (Malaysia) Sdn. Bhd.’s Reply in Support of Motion for Partial Summary Judgment for
12   Lack of Standing as to ViewSonic Corporation. Exhibits 16-18 are excerpts of the Chinese versions
13   of CPT’s annual reports for 2005, 2006, and 2007 and ViewSonic’s corresponding English
14   translations.
15            4.      ViewSonic’s English translations of Exhibits 16 (page 90), Exhibit 17 (page 86), and
16   Exhibit 18 (page 85) list Jean as a “shareholder” or “stakeholder.” That is incorrect. The Chinese
17   character included in those documents means “related party.” Jean was not a shareholder or
18   stakeholder in 2005, 2006 or 2007.
19            5.      Attached as Exhibit A is a true and correct copy of an excerpt of the English version of
20   CPT’s 2006 annual report.
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //

                                                         1
          DECLARATION OF WANG CHI CHENG IN SUPPORT OF REPLY IN SUPPORT OF CPT AND CPTM’S MOTION FOR PARTIAL
               SUMMARY JUDGMENT FOR LACK OF STANDING AS TO VIEWSONIC – MASTER CASE NO. 07-CV-5944 SC
Case 4:07-cv-05944-JST Document 3476-3 Filed 01/23/15 Page 3 of 3
